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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 18-20685-CR-KMW

 UNITED STATES OF AMERICA

               vs.

 FRANCISCO CONVIT GURUCEAGA, et al.,

               Defendants
                                                  /

                                            NOTICE

        The United States of America, through the undersigned Assistant United States Attorney,

 hereby provides notice that the United States no longer is seeking forfeiture of the real property

 located at 3530 Mystic Pointe Drive, Unit 1206, Aventura, Florida 33180, which real property was

 identified in the Indictment [ECF No. 19] on page 8.

                                                            Respectfully submitted,

                                                            MARKENZY LAPOINTE
                                                            UNITED STATES ATTORNEY

                                                      By:   /s/ Joshua Paster
                                                            Joshua Paster
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